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10

11
                             UNITED STATES DISTRICT COURT
12                         NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
13
     IN RE META PLATFORMS, INC.                    Lead Case No. 3:21-cv-08812-AMO
14
     SECURITIES LITIGATION
15                                                 Consolidated Case No. 3:21-cv-08873-AMO

16                                                 MOTION TO PARTIALLY MODIFY
                                                   THE PSLRA’S DISCOVERY STAY AND
17                                                 MEMORANDUM IN SUPPORT
18
                                                   CLASS ACTION
19
                                                   Date: March 7, 2024
20                                                 Time: 2:00 p.m.
                                                   Courtroom: 10
21

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 1                          NOTICE OF MOTION AND MOTION
                   TO PARTIALLY MODIFY THE PSLRA’S DISCOVERY STAY
 2
            PLEASE TAKE NOTICE THAT on March 7, 2024 at 2:00 p.m., or as soon as the matter
 3
     may be heard by the Court, in the courtroom of the Honorable Araceli Martínez-Olguín, United
 4
     States District Court for the Northern District of California, Courtroom 10, 19th Floor, 450
 5
     Golden Gate Avenue, San Francisco, CA 94102, Lead Plaintiffs will move for an order partially
 6
     modifying the automatic stay of discovery imposed by the Private Securities Litigation Reform
 7
     Act of 1995 (“PSLRA”), 15 U.S.C. § 78u–4(b)(3)(B), with respect to all documents,
 8
     electronically stored information, and other materials produced by Defendants to (i) the state
 9
     attorney general offices that filed suits against Meta in October and November 2023, and (ii) the
10
     civil plaintiffs in In re Social Media Adolescent Addiction/Personal Injury Products Liability
11
     Litigation, No. 4-22-MD-3047 (MDL) (N.D. Cal.) and Social Media Cases, No. 22. STCV No.
12
     5255 (Cal. Sup. Ct.). Lead Plaintiffs’ Motion is based on this Notice of Motion and Motion to
13
     Partially Modify the PSLRA’s Discovery Stay, the Memorandum of Points and Authorities in
14
     support, the accompanying Declaration of John Rizio-Hamilton, all pleadings and papers in this
15
     action, and any oral argument of counsel.
16
                         MEMORANDUM OF POINTS AND AUTHORITIES
17
     I.     STATEMENT OF ISSUES TO BE DECIDED
18
            Whether the Court should partially modify the discovery stay imposed by the PSLRA to
19
     allow Plaintiffs to obtain materials that Defendants have already produced to numerous state
20
     attorneys general and private civil plaintiffs.
21
     II.    INTRODUCTION
22
            This case arises from Defendants’ misstatements and omissions concerning severe harms
23
     caused by Facebook and Instagram. As detailed in Lead Plaintiffs’ Complaint (ECF No. 97),
24
     Defendants misled investors about the following subjects: (i) that Meta exempted several million
25
     VIP users from its Community Standards through a practice known internally as “whitelisting,”
26
     allowing them to post viral, rule-violating content; (ii) that Meta’s “News Feed” algorithm
27
     caused toxic, harmful content to proliferate on its platforms, and Meta’s content moderation
28

     MOTION TO PARTIALLY MODIFY THE PSLRA’S                                                         1
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 1   practices were grossly deficient; (iii) that Meta possessed years of research demonstrating that
 2   Instagram had severe, harmful effects on young users, particularly teenage girls; and (iv) that
 3   Meta falsely inflated its user growth metrics.1
 4          Many of these allegations are based on the testimony of a whistleblower named Frances
 5   Haugen and internal Meta documents that Haugen and Congress released—including documents
 6   that went to Meta CEO Mark Zuckerberg and the Head of Instagram, Adam Mosseri, or
 7   explicitly discuss their knowledge and the actions they took (or rejected) in response to internal
 8   concerns. See e.g., Complaint ¶¶103-14, 125-39, 160-93, 210-28, 232-39, 248-52, 270-75, 292-
 9   96, 314, 540-56. Lead Plaintiffs were able to obtain this information only because it was made
10   public; otherwise, the PSLRA discovery stay has prevented Lead Plaintiffs from seeking internal
11   Meta documents or documents from third parties.
12          On August 17, 2023, this Court heard oral argument on Defendants’ motion to dismiss.
13   Since that argument, several striking developments have occurred that corroborate the allegations
14   in the Complaint and confirm the strength of the claims. First, beginning in October 2023, forty-
15   two different state attorneys general filed lawsuits against Meta, alleging that Meta repeatedly
16   misled the public concerning the harms caused by Instagram. The actions are based on years-
17   long investigations and extensive document discovery and testimony obtained by the attorneys
18   general. The same allegations in the attorney general suits are at the core of Lead Plaintiffs’
19   Complaint. See, e.g., Complaint ¶1 (“This case arises from misstatements and omissions by the
20   senior executives of Meta—the most powerful social media company in the world—about the
21   severe harms that its platforms cause, and its decision to prioritize profits over users’ safety.”).
22          As detailed herein, the evidence amassed by the various attorneys general establishes
23   that: (i) both before and during the Class Period, Meta conducted significant research on the
24   effects of its platforms on young users and concluded that Instagram caused severe harms to
25   young people; (ii) Meta’s senior executives, including several of the Executive Defendants
26   named in this action, were aware of this research and repeatedly discussed it; (iii) when Meta’s
27
     1 Emphasis is added and all terms have the same meaning as in the Complaint. References to Ex.
28
     __ refer to the Declaration of John Rizio-Hamilton filed in support of this motion.
     MOTION TO PARTIALLY MODIFY THE PSLRA’S                                                                 2
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 1   executives and researchers asked Defendant Zuckerberg to make changes to make the platforms
 2   safer, he repeatedly refused to do so because making those changes would harm Meta’s business
 3   interests; (iv) Meta’s most senior executives, including Defendant Mosseri, also knew that
 4   Instagram was designed to addict young users by exploiting the neurobiology and psychology of
 5   their developing brains; and (v) Defendants knew that millions of children under the age of 13
 6   used Meta’s platforms and actively targeted and recruited them, notwithstanding their knowledge
 7   of the platform’s harms and its addictive nature.
 8          Second, another whistleblower stepped forward in November 2023, providing additional
 9   sworn testimony and documentary evidence that the Executive Defendants were aware of Meta’s
10   internal research showing that Instagram caused harm to young users. That whistleblower,
11   named Arturo Béjar, was a respected data engineer who had direct access to Defendant
12   Zuckerberg and other executives at Meta. He testified to a Senate Subcommittee last month that
13   Meta’s executives “knew [about the harms Meta’s platforms were causing] and that they were
14   not acting on it.” He told Defendants Zuckerberg and Mosseri that there was “a critical gap” in
15   how Meta addressed the harms its platforms caused young users, but Defendant Zuckerberg
16   simply ignored that message. Significantly, Mr. Béjar testified to the attorneys general that Meta
17   purposely misrepresented the frequency with which users viewed harmful content on Meta’s
18   platforms.   As he told the Massachusetts attorney general: “Every time that a company
19   spokesperson in the context of harms quotes prevalence statistics I believe that is what they are
20   doing, that they’re minimizing the harms that people are experiencing in the product.”
21          Third, two significant civil actions filed against multiple social media companies, both of
22   which allege that Meta’s platforms caused physical and mental harms to young users, recently
23   survived motions to dismiss (the “Personal Injury” actions).         The Personal Injury actions
24   corroborate Lead Plaintiffs’ allegations based on internal Meta documents from before and
25   during the Class Period. In the federal consolidated action, Judge Yvonne Gonzalez Rogers
26   recently denied in part the motion to dismiss, and that action is now moving forward into full
27   discovery. In the state consolidated action, Judge Carolyn B. Kuhl also denied in part the motion
28   to dismiss, meaning that action is also proceeding further into discovery.

     MOTION TO PARTIALLY MODIFY THE PSLRA’S                                                          3
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 1           This action is the only one that has not had the benefit of the discovery on which all these
 2   other actions are based—and now they are moving forward apace. Although discovery has been
 3   stayed under the PSLRA while Defendants’ motion to dismiss is pending, that stay is not
 4   absolute.      The PSLRA permits courts to modify the stay when the discovery sought is
 5   particularized and necessary to avoid undue prejudice. Lead Plaintiffs’ request meets these
 6   criteria.
 7           First, the request is particularized. Lead Plaintiffs seek only documents that Meta has
 8   already collected and produced in related actions to law enforcement agencies and civil
 9   plaintiffs. Courts “regularly find that specific requests for already-produced discovery satisfy the
10   particularity requirement of the exception to a PSRLA discovery stay.” In re FirstEnergy Corp.
11   Sec. Litig., 2021 WL 2414763, at *4 (S.D. Ohio June 14, 2021).
12           Second, Lead Plaintiffs are unduly prejudiced without these materials.           Absent the
13   requested information, Lead Plaintiffs will suffer from an information disparity that materially
14   impairs their ability to assess their litigation strategy and puts them at a significant disadvantage
15   relative to other litigants, while those actions move forward against Meta.            Courts have
16   recognized that these circumstances create undue prejudice that justifies modifying the stay. See
17   In re Bank of Am. Corp. Sec., Derivative, & ERISA Litig., 2009 WL 4796169, at *2 (S.D.N.Y.
18   Nov. 16, 2009) (“Courts have found undue prejudice where plaintiffs would be unable to make
19   informed decisions about their litigation strategy in a rapidly shifting landscape because they are
20   the only major interested party without documents forming the core of their proceedings.”).
21           Lead Plaintiffs’ Complaint is not the type of “strike suit” that concerned Congress when
22   it enacted the PSLRA discovery stay. See In re Delphi Corp. Sec. Litig., 2007 WL 518626, at *8
23   (E.D. Mich. Feb. 15, 2007) (parallel government action showed case was not a “frivolous
24   securities class action”). And because Defendants have previously reviewed and produced each
25   document, there would be no burden in reproducing those documents, further justifying the
26   limited modification of the PSLRA stay sought. At bottom, “[m]aintaining the discovery stay as
27   to materials already provided to other entities and plaintiffs does not further the policies behind
28   the PLSRA.” Turocy v. El Pollo Loco, 2017 WL 2495172, at *2 (C.D. Cal. May 10, 2017).

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 1          That is especially so here, where Meta no longer has any true privacy interest in keeping
 2   these documents under wraps. Meta has agreed with nearly all of the attorneys general to
 3   publicly file unredacted versions of the complaints quoting many important documents. The
 4   requested documents should be produced.
 5   III.   STATEMENT OF FACTS
 6          The landscape surrounding Meta and this litigation is rapidly evolving, as a host of
 7   related cases—based on the same theory as this case—are surging forward.
 8          A.      42 State Attorneys General Sue Meta For Causing And Concealing
                    Harms To Young Users
 9
            On October 24, 2023, thirty-three state attorney general offices filed a complaint against
10
     Meta in the United States District Court for the Northern District of California.2 This action
11
     alleges that “Meta has repeatedly misled the public about the substantial dangers of its Social
12
     Media Platforms”—the precise allegation at the heart of Lead Plaintiffs’ Complaint. See Ex. 1
13
     ¶1 (unredacted version of the “Multistate Complaint”). Based on extensive discovery, the claims
14
     in the Multistate Complaint center on “the ways in which [Meta’s] Platforms exploit and
15
     manipulate its most vulnerable consumers: teenagers and children.” Id. That a bipartisan
16
     coalition of nearly three dozen state attorney general offices from across the political spectrum
17
     joined together to file the Multistate Complaint indicates the strength of the evidence uncovered.
18
            Nine additional state attorneys general filed suits against Meta in various venues based on
19
     the same core allegations and discovery. Almost all of these complaints initially contained
20
     heavy redactions that obscured the underlying documents referenced. Over the past month,
21
     certain of these complaints have been unredacted, including the Multistate Complaint and those
22
     filed by the attorneys general of Massachusetts (Ex. 2, the “Massachusetts Complaint”) and
23
     Oklahoma (Ex. 3, the “Oklahoma Complaint”). Each of these complaints cites and quotes
24

25
26   2 The Office of the Attorney General of the State of Ohio (“OAG”), which serves as Additional
     Counsel for the Ohio Public Employees Retirement System (“OPERS”) in this action, is a
27
     signatory to the Multistate Complaint. The OAG has not provided OPERS or Lead Counsel with
28   any of the documents obtained from Meta or third parties, including because of a confidentiality
     agreement between the attorney general offices and Meta.
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 1   internal Meta documents that go straight to the core issues in this case—including the knowledge
 2   of speaking Defendants Zuckerberg, Mosseri, Newton, and Davis.
 3                   1.      Defendants Knew That Meta’s Own Research Found That Instagram
                             Caused Severe Harm To Young People
 4
             The evidence cited in the attorney general complaints further demonstrates that Meta’s
 5
     executives, including Defendants Zuckerberg, Mosseri, Newton, and Davis, were aware of
 6
     extensive research concluding that Meta’s platforms were harmful to children both before and
 7
     during the Class Period. As Lead Plaintiffs alleged, Defendants understood that the effect that
 8
     Instagram had on young users was the single most important issue facing Instagram. Defendant
 9
     Mosseri wrote in an internal email, “I see social comparison as the existential question Instagram
10
     faces within the broader question of whether or not social media is good or bad for people.” Ex.
11
     1 at ¶254. As the Multistate Complaint noted, “Because of Instagram’s ‘focus on young people
12
     and visual communication,’ its emphasis on beauty and fashion content, and a ‘marketing look
13
     and feel often biasing too polished,’ Mosseri reasoned that ‘social comparison is to Instagram
14
     [what] election interference is to Facebook.’” Id.
15
             Because the Executive Defendants were intensely focused on these issues, they were
16
     regularly informed of Meta’s latest internal research. For instance, in April 2019, Meta’s Vice
17
     President of Product, Choice, and Competition emailed Defendant Zuckerberg to recommend
18
     “investments to fund additional engineering staff focused on building well-being ‘tools/products
19
     to address problematic use’ on the Instagram and Facebook platforms because ‘[c]urrent research
20
     (internal and external) tells us that . . . there is increasing scientific evidence (particularly in the
21
     US . . .) that the average net effect of [our platforms] on people’s well-being’ is ‘negative.’” Ex.
22
     2 at ¶181.     The VP also told Defendant Zuckerberg that “according to Meta’s research,
23
     ‘problematic use [i.e., addiction], social comparison and loneliness’ were the ‘three negative
24
     drivers that occur frequently on [our platform] and impact people’s well-being.’” Id. Defendant
25
     Zuckerberg appears to have ignored this message. Thereafter, Meta’s Chief Financial Officer
26
     “responded that Meta’s leadership team declined to fund this initiative.” Id. at ¶182.
27

28

     MOTION TO PARTIALLY MODIFY THE PSLRA’S                                                                6
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 1          This warning to Defendant Zuckerberg was not a one-off—it was part of a years’ long
 2   pattern in which Meta executives would ask Defendant Zuckerberg to invest in well-being
 3   initiatives, and Defendant Zuckerberg would either ignore or reject the requests.
 4          In April 2019, Meta’s “own researchers directly told Zuckerberg that passive
 5   consumption of social media content, including scrolling, browsing, and watching videos, is
 6   associated with negative effects on well-being. Due to emerging findings about this association,
 7   Meta employees recommended additional funding to study the issue, which was ultimately
 8   denied.” Ex. 1 at ¶417. Later in 2019, Defendant Mosseri acknowledged that Meta “lack[ed] . . .
 9   a roadmap of work that demonstrates we care about well-being,” confirming that he was aware
10   of Meta’s work and research concerning the subject, as well as Meta’s shortcomings in
11   addressing the problems created by its platforms. Ex. 2 at ¶183.
12          Internal Meta documents also confirm that Defendant Davis knew her sworn testimony to
13   Congress during the Class Period was false and misleading. Davis testified in September 2021
14   that Meta’s “research shows that many teens, that Instagram is helping them with hard issues . . .
15   like loneliness, anxiety, sadness, and eating disorders.” Complaint ¶495. But less than one year
16   earlier, Defendant Davis authored a report that “contradict[ed] the representations she made to
17   Congress (and the public).” Ex. 3 at ¶330. Davis found that Instagram had “minimal child
18   safety protections” that were necessary to prevent “Child Sexual Exploitation.” Id. at ¶331.
19   Davis’s report noted that “content” was a significant “[v]ulnerability” for Instagram, “due to the
20   presence of ‘inappropriate/harmful content and experiences for minors.” Id. at ¶332. Defendant
21   Davis’s own presentation found that Instagram’s “core product features connect to challenging
22   societal issues,” including the “objectification of women . . . competitive social comparisons . . .
23   and anxiety/[fear of missing out].” Id. at ¶333. The detailed nature of Defendant Davis’s own
24   reporting demonstrates her knowledge of the harms caused by Instagram.
25          In addition, the attorney general complaints confirm that Defendant Zuckerberg had been
26   briefed again on Meta’s internal research before he testified to Congress in March 2021, one
27   month before the start of the Class Period. When asked about the impact of Instagram on teens
28   and mental health, Defendant Zuckerberg told Congress, “The research that we’ve seen is that

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 1   using social apps to connect with other people can have positive mental-health benefits.”
 2   Complaint ¶241. He was then asked: “Do you believe that your platform harms children?”
 3   Zuckerberg falsely stated, “Congresswoman, I don’t believe so. This is something that we study
 4   and care a lot about.” As the Multistate Complaint explains, however, “Zuckerberg made this
 5   statement despite being given talking points on the negative effects of passive consumption on
 6   mental health to prepare for the congressional hearing.” Ex. 1 at ¶419. This both corroborates
 7   Lead Plaintiffs’ claims and undermines Defendants’ suggestion that Defendant Zuckerberg was
 8   unaware of this research when he testified (See ECF No. 110 at 32-33).
 9           To the extent Defendants argue that documents created and reviewed by Defendants
10   before the Class Period are not relevant to their scienter during the Class Period, the law is clear:
11   a class period “function[s] only to define the plaintiff class, not to restrict the universe of relevant
12   or actionable facts,” and thus, “facts relating to scienter dating from before the proposed class
13   period” are relevant to the scienter analysis. Zelman v. JDS Uniphase Corp., 376 F. Supp. 2d
14   956, 970 (N.D. Cal. 2005). See also In re Wireless Facilities, Inc. Sec. Litig., 2007 WL 966713,
15   at *8 (S.D. Cal. May 7, 2007) (knowledge before class period relevant because “the knowledge
16   was not lost when the class period began”); In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 72
17   (2d Cir. 2001) (“Pre-class data is relevant” to show what defendant “should have known during
18   the class period”).
19           And in any event, Defendants’ knowledge of the harmful effects of Meta’s products
20   continued into the Class Period. In May 2021, for instance, Defendant Mosseri told a group of
21   journalists that Instagram’s effects on teen well-being were “quite small.” Complaint ¶251. But
22   in truth, and as discussed herein, “Mosseri had been apprised of many of the significant harms
23   teens experienced from using Instagram” by that time. Ex. 1 at ¶425. Likewise, Defendant
24   Newton acknowledged internally in May 2021 that it wasn’t just “‘regulators’ or ‘critics’ who
25   think [I]nstagram is unhealthy for young teens—it’s everyone from researchers and academic
26   experts to parents.” Id. at ¶428. According to Newton herself, Instagram’s “blue print” was
27   “inherently not designed for an age group that don’t [sic] have the same cognitive and emotional
28   skills that older teens do.” Id.

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 1          Weeks before The Wall Street Journal published the Facebook Files, an Instagram
 2   spokesperson named Stephanie Otway told Mosseri that the forthcoming article “essentially
 3   argues that [Instagram’s] design is inherently bad for teenage girls (leads to SSI [suicide and
 4   self- harm], poor mental health, [and] dysphoria).” Ex. 1 at ¶563. Otway further told Mosseri
 5   that these “arguments [are] based on our own research so [they] are difficult to rebut.” Id. Otway
 6   noted that she was “mostly worried about the fallout from the article” which would expose “that
 7   our own research confirmed what everyone has long suspected[.]” Id. Yet, just weeks later, after
 8   The Wall Street Journal published the Facebook File article concerning the impact of Instagram
 9   on young users, Defendants continued to perpetuate Meta’s false narrative that Instagram had a
10   positive effect on children. See, e.g., Complaint ¶298.
11          Also in August 2021, Instagram’s Well-being Team reached out to Defendant Clegg,
12   “recommending investment of staff dedicated to addressing the ‘currently underinvested’ teen
13   well-being areas of ‘problematic use, bullying+harassment, connections, [and Suicide and Self-
14   Injury (SSI)]’ based on input from ‘key experts and policy stakeholders.” Ex. 2 at ¶185.
15          Defendant Clegg “promptly forwarded the ask” to Defendant Zuckerberg, recommending
16   “additional investment to strengthen our position on wellbeing across the company.” Id. at ¶186.
17   Defendant Clegg told Zuckerberg unambiguously that “we need to do more” and that “[w]e are
18   not on track to succeed for our core well-being topics (problematic use, bullying & harassment,
19   connections, and SSI).” Id. at ¶187. But once again, Zuckerberg refused to invest in necessary
20   safety measures.    Zuckerberg “ignored Clegg’s request for months—causing alarm among
21   Meta’s leadership.” Ex. 1 at ¶623. “All the while, Meta’s leadership continued to espouse the
22   need to invest in well-being”—to no avail. Ex. 2 at ¶188.
23          In September 2021, the Facebook Files were published—yet by October 2021,
24   Zuckerberg had still not responded to Clegg’s message from months prior. Other executives,
25   including Defendant Mosseri, continued to discuss Clegg’s proposal. In an email to Meta’s VP
26   of Product, Mosseri complained, “I’m really worried about this . . . [W]e’ve been talking about
27   this for a long time but have made little progress.” Ex. 1 at ¶624.
28

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 1           Documents uncovered by the attorneys general help illustrate why Meta had made so
 2   little progress.   “While Clegg and others worried about public backlash, Zuckerberg was
 3   preoccupied with public perception of his hydrofoil, which is an aquatic recreation device.” Ex. 3
 4   at ¶215. On September 20, 2021, the New York Times had published an article about Meta’s
 5   efforts to rehabilitate its image following the release of the Facebook Files and noted that instead
 6   of addressing the controversy, Defendant Zuckerberg’s recent posts on Facebook and Instagram
 7   included video of himself riding what appeared to be an electric surfboard. The next day, while
 8   “Meta’s previously undisclosed internal research was a leading headline,” Defendant Zuckerberg
 9   was “eager” to put out a dismissive statement saying: “Look, it’s one thing for journalists to
10   make false claims about my work, but it’s crossing a line to say I’m riding an electric surfboard
11   when it’s clearly a hydrofoil and I’m pumping that thing with my legs.” Id. at ¶¶216-17. As the
12   Oklahoma Complaint described, an “unamused” Defendant Clegg “observed the absurdity of
13   Zuckerberg’s inclination” in disbelief:
14           Am I missing something here? On the day a [Meta] rep[resentative] is pulled
             apart by US Senators on whether we care enough about children on our services,
15           Zuckerberg is going to post about . . . surfboards? Maybe I’ve lost my humor
             about this whole thing, but I really think this would seem to any casual observer
16           to be pretty tone deaf given the gravity of the things we’re accused of . . . If I was
             him, I wouldn’t want to be asked “while your company was being accused of
17           aiding and abetting teenage suicide why was your only public pronouncement a
             post about surfing?” . . . [The Wall Street Journal’s reporting about Instagram’s
18           mental health impacts] has dramatically consolidated a wider narrative (that we’re
             bad for kids) which had been brewing for some time. It now makes regulation . . .
19           certain, and in my view makes launching [Instagram] Kids nigh impossible. I’ve
             told [Zuckerberg] and [Sandberg] this already.
20
     Id. at ¶218.
21
             Meta’s Head of Communications capitulated to Zuckerberg and released the statement,
22
     telling Defendant Clegg “I’m really eager to just do whatever he wants at this point. My spine
23
     has been surgically removed.” Id. at ¶219. In November 2021, Defendant Clegg followed up on
24
     his August request for investment in well-being.          Ex. 1 at ¶626.     Clegg told Defendant
25
     Zuckerberg that investment in this space was “important to ensure we have the product roadmaps
26
     necessary to stand behind our external narrative of well-being on our apps.” Id. “In other words,
27
     as Clegg told Zuckerberg, [] Meta’s external well-being ‘narrative’ was inconsistent with Meta’s
28
     actual financial commitment to that issue.” Ex. 3 at ¶227.
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 1          After the Class Period, Meta continued to demonstrate its disinterest in solving the known
 2   problems caused by its platforms. In September 2022, one year after the release of the Facebook
 3   Files and just one month before Lead Plaintiffs’ Complaint was filed, Meta disbanded its
 4   Responsible Innovation Team. As the Massachusetts Complaint explained, “Meta externally
 5   claimed [its Responsible Innovation Team] was a central part of its efforts to ‘proactively surface
 6   and address potential harms to society in all that we build.’” Ex. 2 at ¶194.
 7                  2.      Notwithstanding Their Knowledge Of These Harms, Defendants
                            Repeatedly Refused To Make Changes To Mitigate The Harms
 8
            The attorney general complaints confirm what Lead Plaintiffs alleged: that despite the
 9
     numerous proposals presented to Defendants, Defendant Zuckerberg refused to make changes to
10
     Meta’s products because those changes would decrease user time on the platforms.                See
11
     Complaint ¶233 (“Meta recognized—but did not disclose—making changes that would
12
     effectively combat Instagram’s harm to teens could result in teens not using Instagram at all”).
13
     Two examples of this conduct are described below and further illustrate Defendants’ scienter.
14
            Cosmetic Filters. Meta’s platforms included the option for users to apply filters to their
15
     photos. Filters alter a photo’s appearance and can, among other things, “simulate makeup,
16
     cosmetic surgery, botox, or clearer skin.” Ex. 2 at ¶225. Meta’s researchers learned that these
17
     filters caused “severe harm to young users, especially female users.” Id. at ¶226. After a “PR
18
     fire” in October 2019 where Meta was accused of “allowing the promotion of plastic surgery” to
19
     children, Meta instituted a temporary ban on these filters. Ex. 1 at ¶¶343-45. In November 2019,
20
     Meta’s Vice President of Product Design, Margaret Gould Stewart, emailed Defendants Mosseri
21
     and Newton, “asking for support” to make the ban permanent “because of mental health experts’
22
     concern about the negative ‘impacts that [those filters] were having on mental health and
23
     wellbeing, especially for more vulnerable users (youth, women).’” Ex. 2 at ¶227. According to
24
     the Massachusetts Complaint and Meta’s internal documents, this proposal received “unanimous
25
     support”—until it reached Defendant Zuckerberg. Id. at ¶228. Meta’s Chief Technology Officer
26
     “stated that he ‘mentioned this [proposal] to Mark [Zuckerberg]’ who ‘might want to review
27
     before implementing’ because Zuckerberg questioned whether these filters actually ‘represent[]
28
     real harm.’” Id. at ¶228.
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 1           In response to Defendant Zuckerberg’s pushback, Defendant Newton noted in an internal
 2   email that “it’s been our strong recommendation from comms, marketing, policy, and
 3   engagement with nearly 20 outside experts and academics that we pass this policy” and stated
 4   that “outside academics and experts consulted were nearly unanimous on the harm here.” Id. at
 5   ¶230.   Defendant Newton was thus, by her own admission, aware of this research and Meta’s
 6   work with numerous experts concerning this issue.            This admission also demonstrates the
 7   misleading nature of Newton’s statement that “research on the effects of social media on
 8   people’s well-being is mixed, and our own research mirrors external research.” Complaint ¶298.
 9           Eventually, a meeting was scheduled with Defendant Zuckerberg to discuss this issue in
10   April 2020. In preparation, Zuckerberg was given a “pre-read” that detailed Meta’s consultation
11   with “21 independent experts around the world” who “generally agree that these effects are cause
12   for concern for mental health and wellbeing, especially amongst vulnerable populations (female,
13   youth, those with a history of mental health concerns, etc.).” Ex. 2 at ¶233. But crucially, this
14   memo also “noted that continuing the ban may have a ‘negative growth impact’ on the
15   company.” Ex. 1 at ¶354. The day before the meeting, it was suddenly cancelled. That day,
16   Zuckerberg “vetoed the proposal” to remove the filters without rescheduling the meeting. Id. at
17   ¶356. He stated that there was a “clear[] demand” for the filters, and falsely claimed that “he had
18   seen ‘no data’ suggesting that the filters were harmful.” Id. at ¶358. Gould Stewart contacted
19   Zuckerberg directly, stating “I respect your call on this and I’ll support it, but want to just say for
20   the record that I don’t think it’s the right call given the risks. . . . I just hope that years from now
21   we will look back and feel good about the decision we made here.” Id. at ¶361.
22           Project Daisy. As Lead Plaintiffs allege, during the Class Period, Defendants touted
23   “Project Daisy” as a way to create a “more positive experience on Instagram” for its users.
24   Complaint ¶¶247-50, 477-78. But by late 2020, Meta had concluded that Project Daisy did not
25   result in any improvement to “overall well-being measures.” Id. at ¶¶249, 478. The attorney
26   general complaints give significant context to Project Daisy and further confirm the falsity of
27   Defendants’ statements and their scienter.
28

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 1          Project Daisy was a “campaign to hide the ‘likes’ on Instagram. Id. at ¶247. In 2020,
 2   Meta conducted experiments that found that “hiding Like counts [on Instagram posts] led to
 3   decreases in negative social comparison.”        Ex. 1 at ¶240.       Meta’s researchers proposed
 4   implementing this feature across Instagram. Id. at ¶240. After assessing Project Daisy’s impact
 5   on “engagement and revenue—including an estimated 1% negative effect on Meta’s advertising
 6   revenue—Meta’s leadership decided not to” make Project Daisy a default setting. Id. at ¶250.
 7   Instead of hiding the like counts, which Meta’s researchers concluded would reduce Instagram’s
 8   harm to children, Meta instead required users to “navigate submenus of preferences to
 9   affirmatively opt in” to this feature. Id. at ¶252. As Defendant Newton noted in April 2021,
10   Meta “continued to get the advice [from experts] that we should have Daisy on by default for
11   teens.” Id. at ¶262. “Meta employees noted that Daisy ‘got stuck in a political war between Fidji
12   Simo, then-Head of Facebook + Adam Mosseri + Mark Zuckerberg.’” Id. at ¶264 (cleaned up).
13   The Multistate Complaint thus demonstrates that several of the Executive Defendants were fully
14   informed concerning Project Daisy when Meta announced it. But despite understanding that the
15   opt-in version of Project Daisy, which Meta chose to implement, was utterly ineffective, Meta
16   misleadingly represented Project Daisy as part of an effort to “shape a more positive experience
17   on Instagram.”      Complaint ¶478.    Even after Project Daisy launched in May 2021, Meta
18   employees lobbied to make hiding Likes a default setting for teens. When Instagram’s Head of
19   Public Policy approached Defendant Mosseri, he “‘quickly’ declined this proposal in July 2021,
20   citing concerns that making Daisy a default setting for teens would validate the external
21   ‘perception that ‘likes’ are bad for young people.’” Ex. 1 at ¶274.
22                  3.      While Knowing of the Harms Instagram Caused, Defendants
                            Designed the Product to Be Addictive to the Young Brain
23
            Just prior to the Class Period, Defendant Zuckerberg testified to Congress that it was a
24
     “common misconception that our teams—our goals, or even have goals, of trying to increase the
25
     amount of time that people spend,” and further stated: “I don’t give our News Feed team or our
26
     Instagram team goals around increasing the amount of time that people spend.” Id. at ¶137.
27
     Then, during the Class Period, when asked by Senators Blumenthal and Blackburn in August
28
     2021 whether “Facebook research ever found that its platforms and products can have a negative
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 1   effect on children’s and teens’ mental health or well-being,” Meta and Zuckerberg claimed that
 2   they were “not aware of a consensus among studies of experts about how much screen time is
 3   ‘too much.’” Complaint ¶490. And in October 2021, Defendant Davis testified to Congress that
 4   Instagram was not addictive, stating: “So I disagree with calling our product addictive . . .”
 5   Complaint ¶500. All of these statements were misleading; in fact, Meta intentionally designed
 6   its products to be addictive to young users in order to keep them on Meta’s platforms for
 7   increasing amounts of time.
 8          Communications prior to the Class Period confirm that Defendant Zuckerberg prioritized
 9   user engagement over well-being for years. Faced with “significant declines in U.S. engagement
10   metrics,” employees at Meta in 2017 and 2018 received “clear input from [Meta head of Product]
11   Naomi [Gleit] that US DAP [Daily Active People] is a bigger concern for Mark [Zuckerberg]
12   right now than user experience,” and got “a very clear and strong message from Mark that DAP
13   [Daily Active People] (and specifically US DAP [Daily Active People]) is extremely important
14   and we must change the trajectory from the negative one.” Ex. 1 at ¶322. This mandate informed
15   the direction Meta took going forward.
16          Meta focused on increasing the time young people spent on its platforms. A “2017 Teens
17   Strategic Focus” described Meta’s goal as “increas[ing] U.S. teen time spent” on the platforms.
18   Ex. 2 at ¶167. Meta’s product design team has noted that “the young ones are the best ones. . . .
19   You want to bring people to your service young and early.” Id. at ¶146.
20          As alleged in the Complaint, to capture the market for young people, Defendants
21   designed Meta’s platforms to be addictive, including through what Frances Haugen described as
22   “little dopamine loops.” Complaint ¶215. This causes users (particularly children and young
23   adults) to experience pleasure, “or a ‘dopamine hit,’ from the platforms, for example, by
24   obtaining ‘likes’ for posts.” Id. “Then, the user immediately seeks to obtain that feeling again,
25   for example, by posting new content and obtaining more likes.” Id. Meta knew full well that
26   numerous aspects of its platforms were designed in a way that was addictive to young users.
27          For instance, Meta knew that its “constant barrage of notifications is successful in
28   keeping young users returning to its platform at all hours.” Ex. 2 at ¶93. A November 2019

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 1   presentation noted that, because of constant notifications, young users were “‘overload[ed],’
 2   ‘overwhelm[ed],’ and compelled to re-open and re-visit the Instagram platform repeatedly
 3   throughout the day and at night.’” Id. at ¶93. In addition, Meta understood that Instagram’s
 4   algorithms take teens into “negative spirals & feedback loops that are hard to exit from.” Ex. 1
 5   at ¶160. The Multistate Complaint summarizes Meta’s efforts in no uncertain terms: “By
 6   algorithmically serving content to young users according to variable reward schedules, Meta
 7   manipulates dopamine releases in its young users, inducing them to engage repeatedly with its
 8   Platforms—much like a gambler at a slot machine.” Id. at ¶161. Meta’s ability to induce young
 9   users into this behavior was the result of extensive research into the neurobiology and
10   psychology of young minds.
11          In June 2020, an extensive Meta study called the “Teen Fundamentals” report was
12   presented “to Instagram’s leadership team (including [Defendant] Adam Mosseri).” Ex. 3 at
13   ¶114. This “97-page internal presentation” was designed to “look . . . to biological factors that
14   are relatively consistent across adolescent development and gain valuable unchanging insights to
15   inform product strategy today.” Id. at ¶100. Meta studied “the teenage brain,” which it learned
16   was “especially ‘plastic’” or “easy to stimulate,” and “predisposed to impulse, peer pressure, and
17   potentially harmful risky behavior,” to design Meta’s platforms to “encourage teens to continue
18   engaging and keep coming back to [Instagram].”          Ex. 1 at ¶¶402-08.      The presentation
19   “discussed teen brains’ relative immaturity, and teenagers’ tendency to be driven by ‘emotion,
20   the intrigue of novelty and reward.” Ex. 2 at ¶75.
21          As the Oklahoma Complaint explains, that “presentation confirmed that Instagram was
22   successfully exploiting these vulnerabilities, even when its young consumers voiced their
23   concerns directly to Meta.” Ex. 3 at ¶110. The presentation noted that “teen brains are much
24   more sensitive to dopamine,” which “keeps them scrolling and scrolling,” “even though they
25   want to” stop using Instagram. Id. at ¶111. As Meta’s presentation stated, “our own product
26   foundation research has shown teens are unhappy with the amount of time they spend on our
27   app.” Id. at ¶111. With this information, Meta “repeatedly asked how Instagram could become
28   even more irresistible to teens.” Id. at ¶112. And “[i]n response to the presentation, Instagram’s

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 1   leadership requested additional research,” and “continued to use its research and understanding
 2   of Adolescent users’ brains to gain a competitive advantage.” Id. at ¶115.
 3                  4.      Defendants Knew That Millions of Children Under 13 Used Meta’s
                            Platforms and Suffered Harm – And Defendants Actively Targeted
 4                          Them
 5          The attorney general complaints confirm that Defendants were aware that children under
 6   the age of 13 were on Meta’s platforms. In their motion to dismiss, Defendants made much of
 7   the notion that the documents referenced in the Complaint did not “purport to address the effect
 8   of social media on pre-teen users.” ECF No. 110 at 39. Defendants stated: “Indeed, they are not
 9   even allowed to join Instagram.” That argument was misguided then (see Complaint ¶¶207
10   (Meta research on “how to leverage playdates”); 234-35 (“Tweens Competitive Audit”); 240,
11   254 (“kids are getting on the internet as young as six years old”)), and the attorney general
12   complaints further debunk the claim that Defendants did not study and actively market their
13   products to children on the age of 13, or that Meta’s age restrictions were effective.
14          As early as January 2018, Defendant Zuckerberg “received a report that included
15   information on under-13 users on Instagram,” which informed him that Meta “can estimate that
16   there were 4M[illion] people under 13 in 2015 on IG [in the US]. This represents around 30% of
17   all 10-12 year[] old[s] in the US.” Ex. 1 at ¶¶657-58.
18          In February 2020, Meta’s Chief Privacy Officer emailed Defendant Mosseri, telling him
19   that “by providing ‘a default [age] over 13,’ Meta was ‘not taking sufficient steps to enforce’ its
20   minimum age rules or ‘meet its obligations to keep under 13s [under 13 years old] off’ its
21   platforms, ‘especially given the general understanding that an unknown number of u13s are on
22   FB and especially IG, and lying about their age.’” Ex. 2 at ¶329.
23          Later that year, in September 2020, an internal email discussed Defendant Antigone
24   Davis’s “description of ‘age assurance’ initiatives where Meta was ‘most vulnerable and
25   nee[ded] to step up [its] efforts” demonstrating that she was also aware that children under 13
26   were using Meta’s platforms. Id. at ¶340. A Meta strategic advisor “noted that the findings were
27   ‘quite worrying’ and ‘tends to confirm the impression I have that this area of work is often
28   sidelined and Antigone doesn’t have the resources or consistent leadership support that she

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 1   needs.’” Id. As Defendant Mosseri told Defendant Zuckerberg in 2020, “Instagram doesn’t
 2   know the age of many of its users.” Ex. 1 at ¶710.
 3          In fact, not only did Meta refuse to take action to keep children off its platforms; it
 4   actively recruited children under 13 and tried to market its products to them. In November 2020,
 5   Instagram’s Vice President Co-Head of Product noted that his team was meeting with Defendant
 6   Zuckerberg to “highlight data showing why IG Youth could help with the tween market for
 7   FACEBOOK.” Id. at ¶827.         In 2021, Meta hired a vendor named Answer Lab to “conduct a
 8   survey of preteens.” Id. at ¶693. “Meta instructed Answer Lab to not inform Meta employees if
 9   any of the preteen survey subjects were on Instagram, so that Meta ‘as a company won’t be made
10   aware of under 13.’” Id. An internal Meta study from 2021 titled “User Trends” “reveals that
11   Meta has completed studies on the privacy needs of tweens while building products for that
12   target group.” Id. at ¶694. Instagram’s Research Director told Defendant Davis in 2021 that
13   “Instagram is investing in experiences targeting youth aged roughly 10- to 12,” noting that
14   “research among this population is very sensitive.” Id. at ¶774. Internal documents from that
15   time confirm that Meta was building initiatives for children as young at six years old. Id.
16          B.      Arturo Béjar Provides Testimony and Documentary Evidence Futher
                    Confirming Meta’s Executives Knew of the Harms Caused by Meta’s
17                  Platforms
18          Several of the attorney general complaints filed in October 2023 referenced discussions
19   with a new whistleblower. In November 2023, that whistleblower, Arturo Béjar, testified before
20   the Senate Subcommittee on Privacy, Technology, and the Law and provided evidence that he
21   had warned Meta’s executives of the harms Instagram caused to young users.
22          Mr. Béjar first worked as the “senior engineering and product leader at [Meta]
23   responsible for its efforts to keep users safe and supported” from 2009 to 2015. Ex. 4 at 1
24   (Written Testimony of Arturo Mr. Béjar before the Subcommittee on Privacy, Technology, and
25   the Law, November 7, 2023). In this role, he had significant access to Meta’s C-suite, and was
26   responsible for “doing strategic product reviews every six months with the Facebook executive
27   team including: Mark Zuckerberg, Sheryl Sandberg, and Chris Cox.” Id. Mr. Béjar helped build
28   tools to help young when they had negative experiences on Instagram.

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 1           In 2015, Mr. Béjar left Meta to spend more time with his family, including his teenage
 2   daughter. Over the next several years, he watched as his daughter “faced unwanted sexual
 3   advances, misogyny, and harassment” on social media and realized that “even though social
 4   media services enabled these distressing experiences, the services provided little or no help to
 5   her in dealing with them.” Id. He returned to Meta as a consultant in 2019.
 6           During his second stint with Meta, Mr. Béjar worked on the Well-being Team at
 7   Instagram. Id. He quickly learned that “[a]lmost all of the work” that he had done was “gone”,
 8   and the “tools we had built for teenagers to get support when they were getting bullied or
 9   harassed,” were “no longer available to them.” Id. It soon became clear to Mr. Béjar that Meta
10   had “developed some very troubling evidence that young teens were experiencing great distress
11   and abuse on the Instagram platform,” but “senior management was externally reporting
12   different data that grossly understated the frequency of harm experienced by users.” Id.
13           As Mr. Béjar testified to the Senate Subcommittee, he spent a year researching the harms
14   that Meta’s platforms were causing. See Senate Subcommittee Hearing on Social Media and the
15   Teen      Mental        Health      Crisis,    November        7,     2023,       available    at
16   https://www.judiciary.senate.gov/committee-activity/hearings/social-media-and-the-teen-mental-
17   health-crisis. Mr. Béjar learned, after discussions with management, “that they knew and that
18   they were not acting on it.” Id. Mr. Béjar shared his findings with “20 or 30 people, including
19   Adam Mosseri, saying, do you have any feedback, anything that’s inaccurate in my data.”
20   According to Mr. Béjar, “nobody did.” Id.
21           Eventually, Mr. Béjar raised these issues directly to Mark Zuckerberg. On October 5,
22   2021, Frances Haugen testified before Congress.       Complaint ¶353.     Immediately after she
23   finished testifying, Meta issued a statement disparaging Haugen, and Defendant Zuckerberg
24   broke his weeks-long silence with a misleading Facebook post claiming that a “false picture of
25   the company” was “being painted.” Id. at ¶354.
26           That evening, Mr. Béjar emailed Defendant Zuckerberg (along with Defendant Mosseri
27   and other Meta executives) after seeing “the note [Zuckerberg] shared today after the testimony.”
28   Béjar          email,            October         5,          2021,            available        at

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 1   https://www.blumenthal.senate.gov/imo/media/doc/1172023bejardocuments.pdf#page=109. Mr.
 2   Béjar told Zuckerberg that there was a “critical gap in how we as a company approach harm, and
 3   how the people we serve experience it.” Id. Mr. Béjar noted that he had raised this issue to
 4   Defendant Mosseri and others “in the last couple of weeks”—i.e., the same time that the
 5   Facebook Files were released and Defendants made multiple false statements denying and
 6   downplaying the revelations. Id. Mr. Béjar shared with Defendants Zuckerberg and Mosseri
 7   troubling findings. For example, in just the week preceding Mr. Béjar’s email, nearly 22% of
 8   13–15-year-old children “said they were the target of bullying”; 40% “said they experienced
 9   negative comparison”; and nearly 25% “said they received unwanted advances.” Id. Mr. Béjar
10   asked for funding and support to conduct additional research concerning these harms, stating that
11   “working this way will require a culture shift” at Meta. As Mr. Béjar told The Wall Street
12   Journal, however, while some of the executives on that email acknowledged his message, Mr.
13   Béjar “never heard back from Zuckerberg.” Ex. 5 at 16.
14          Notably, Mr. Béjar was interviewed during the state attorneys general investigations into
15   Meta’s practices. Mr. Béjar told the Massachusetts attorney general, for instance, that Meta’s
16   Community Standards Enforcement Reports “vastly under-represented the frequency with which
17   users viewed harmful content on Instagram.” Ex. 2 at ¶292. Mr. Béjar further “testified under
18   oath that Meta adopted and maintained this strategy to mislead the public.” Id. at ¶293. When
19   asked whether he was “aware of any instances where the company, in [his] view, deceptively
20   minimized the harms users were experiencing on Meta's platforms,” Mr. Béjar testified: “Every
21   time that a company spokesperson in the context of harms quotes prevalence statistics I believe
22   that is what they are doing, that they’re minimizing the harms that people are experiencing in the
23   product.” Id. at ¶296.
24          C.      The Personal Injury Actions, Which Have Already Received
                    Discovery From Defendants Concerning the Same Issues, Recently
25                  Survived Motions to Dismiss
26          As discussed above, two consolidated actions—one proceeding in the Northern District
27   of California, and the other in California state court—against Meta and other social media
28   companies, recently survived motions to dismiss. Both complaints, brought by the parents of

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 1   young social media users and school districts, allege that Meta’s platforms caused significant
 2   mental and physical harms to young users, and that Meta and its executives concealed those
 3   harms from the public. The allegations in both Personal Injury actions were based on extensive
 4   discovery, including documents from Meta and Frances Haugen.
 5          First, on October 13, 2023, the Honorable Carolyn B. Kuhl of the Superior Court of the
 6   State of California ruled in the Social Media Cases litigation that the plaintiffs had sufficiently
 7   alleged both negligence and fraudulent concealment claims against Meta. Judge Kuhl concluded
 8   that plaintiffs had adequately alleged that “Meta knew of its platforms’ defects, but that Meta
 9   nonetheless failed to share this information ….” Ex. 6 at 83 (Social Media Cases Opinion).
10          Second, on November 14, 2023, Judge Gonzalez Rogers issued a decision in In re Social
11   Media Adolescent Addiction/Personal Injury Products Liability Litigation, sustaining in
12   significant part various claims against the defendants in that action, including Meta. Judge
13   Gonzalez Rogers concluded that plaintiffs had sufficiently alleged that many of Facebook and
14   Instagram’s design features caused significant harms to plaintiffs. See Ex. 7 (In re Social Media
15   Adolescent Addiction/Personal Injury Products Liability Litigation Opinion).
16          That these two actions consolidating claims by hundreds of plaintiffs—and supported by
17   some of the same discovery Lead Plaintiffs seek—survived motions to dismiss further illustrates
18   that Lead Plaintiffs’ claims are not frivolous. And now that defendants’ motion to dismiss has
19   been resolved, Judge Gonzalez Rogers has vacated the discovery stay that she had previously
20   imposed in that matter, which will allow those plaintiffs to pursue additional discovery. See
21   MDL Case Management Order No. 6 at 5 (Ex. 8). As these cases proceed deeper into discovery,
22   Lead Plaintiffs will fall further behind unless the PSLRA discovery stay is modified.
23   IV.    ARGUMENT
24          A.      Legal Standard
25          The PSLRA states that “all discovery and other proceedings shall be stayed during the
26   pendency of any motion to dismiss.” 15 U.S.C. §78u-4(b)(3)(B). Congress, however, “expressly
27   provided courts with discretion to allow limited discovery” “upon the motion of any party that
28   particularized discovery is necessary to preserve evidence or to prevent undue prejudice to that

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 1   party.” In re Delphi Corp., 2007 WL 518626, at *4 (E.D. Mich. Feb. 15, 2007) (quoting 15
 2   U.S.C. § 78u–4(b)(3)(B)). That is because the discovery stay is intended only “to minimize the
 3   incentives for plaintiffs to file frivolous securities class actions in the hope either that the
 4   corporate defendants will settle those actions rather than bear the high costs of discovery . . . or
 5   that the plaintiffs will find during discovery some sustainable claim not alleged in the
 6   complaint.” Id. (quoting 15 U.S.C. § 78u-4(b)(3)(B)). In this case, any concerns of a fishing
 7   expedition are non-existent, as illustrated by the fact that (i) 42 state attorneys general have filed
 8   lawsuits against Meta concerning many of the same issues, based on detailed evidence developed
 9   during a multi-year investigation, (ii) a new whistleblower has produced compelling testimony
10   and evidence corroborating Defendants’ scienter, and (iii) multiple courts have recently sustained
11   claims against Meta based on many of the same issues raised in this action.
12          Courts frequently modify the PSLRA discovery stay and order defendants to reproduce to
13   securities plaintiffs materials previously produced to the government and other civil litigants. As
14   numerous courts have explained, “maintaining the discovery stay as to materials already
15   provided to government entities does not further the policies behind the PSLRA.” In re
16   FirstEnergy Corp. Sec. Litig., 229 F.R.D. 541, 545 (N.D. Ohio 2004). See also In re Royal
17   Ahold N.V. Sec. & ERISA Litig., 220 F.R.D. 246, 252 (D. Md. 2004) (ordering production of
18   “key documents that have already been produced to government investigators and that soon will
19   be produced to the ERISA plaintiffs”); In re Bank of Am. Corp. Sec., Derivative, & ERISA Litig.,
20   2009 WL 4796169, at *2 (S.D.N.Y. Nov. 16, 2009) (“Courts have found undue prejudice where
21   plaintiffs would be unable to make informed decisions about their litigation strategy in a rapidly
22   shifting landscape because they are the only major interested party without documents forming
23   the core of their proceedings.”).
24          In considering motions to modify the PSLRA discovery stay, courts consider whether the
25   discovery sought is (i) particularized, and (ii) necessary to prevent undue prejudice. See In re
26   Massey Energy Co. Sec. Litig., 2011 WL 4528509, at *4 (S.D. W. Va. Sept. 28, 2011) (quoting
27   15 U.S.C. § 78u-4(b)(3)(B)). Lead Plaintiffs meet these requirements.
28

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 1          B.       Lead Plaintiffs’ Request Is Sufficiently Particularized
 2          The discovery Lead Plaintiffs seek is particularized under 15 U.S.C. § 78u-4(b)(3)(B).
 3   Discovery is particularized if it “adequately specif[ies] the target of the requested discovery.” In
 4   re Lernout & Hauspie Sec. Litig., 214 F. Supp. 2d 100, 108 (D. Mass. 2002). Lead Plaintiffs
 5   seek a readily identifiable universe of documents: namely, those that Defendants have already
 6   produced to (i) the state attorneys general, and (ii) the civil plaintiffs in the Personal Injury
 7   actions.
 8          Courts “regularly find that specific requests for already-produced discovery satisfy the
 9   particularity requirement of the exception to a PSRLA discovery stay.” In re FirstEnergy Corp.
10   Sec. Litig., 2021 WL 2414763, at *4 (S.D. Ohio June 14, 2021); see also New York State
11   Teachers’ Ret. Sys. v. Gen. Motors Co., 2015 WL 1565462, at *3 (E.D. Mich. Apr. 8, 2015)
12   (“The discovery NYSTRS seeks is particularized. It is limited to materials that have been
13   produced already and which will be produced in the MDL Litigation.”). Moreover, although
14   Lead Plaintiffs do not know the number of documents that Defendants have produced to these
15   parties, the volume of documents does not impact the particularization analysis. See FirstEnergy
16   2021 WL 2414763, at *4 (“particularized discovery requests are warranted, even when they are
17   voluminous”).
18          C.       Lead Plaintiffs Will Suffer Undue Prejudice If the Stay is Not
                     Modified
19
            Once the particularity requirement is satisfied, “the Court must then determine whether
20
     the requested discovery ‘is necessary to . . . prevent undue prejudice to that party.’” Delphi,
21
     2007 WL 518626, at *6 (quoting 15 U.S.C. § 78u-4(b)(3)(B)).               Undue prejudice means
22
     “improper or unfair detriment” and is frequently described as “something less than irreparable
23
     harm.” In re FirstEnergy Corp. Sec. Litig., 2021 WL 2414763, at *5 (S.D. Ohio June 14, 2021).
24
     Courts often modify or lift the discovery stay when a defendant is involved in “criminal, civil
25
     and administrative investigations and actions which are proceeding unabated with the possibility
26
     that settlements might occur and/or fines and penalties might be imposed.” Massey, 2011 WL
27
     4528509, at *6. That is precisely the situation Lead Plaintiffs find themselves in.
28

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 1          Without the requested documents, Lead Plaintiffs will suffer undue prejudice because
 2   they will not be able to intelligently assess their position and form a litigation strategy. Courts
 3   “view these circumstances as unfair and allow the lifting of the statutory discovery stay to
 4   prevent undue prejudice to the securities litigation plaintiffs resulting from their not having the
 5   information which parties in other proceedings have so that they can develop their litigation
 6   strategy and weigh their options.” Id. The many other parties litigating against Meta have
 7   received significant discovery, which puts Lead Plaintiffs at a significant informational
 8   disadvantage. “Courts have found undue prejudice where plaintiffs would be unable to make
 9   informed decisions about their litigation strategy in a rapidly shifting landscape because they are
10   the only major interested party without documents forming the core of their proceedings.” Bank
11   of America, 2009 WL 4796169, at *2; see also Seippel v. Sidley, Austin, Brown & Wood LLP,
12   2005 WL 388561, at *2 (S.D.N.Y. Feb. 17, 2005) (finding plaintiffs would “be prejudiced if they
13   lack access to documents which have been produced to others” in government investigations and
14   civil suits). While discovery moves ahead in the related litigations, Lead Plaintiffs will “fall
15   substantially behind” these actions. Bank of America, 2009 WL 4796169, at *3.
16          Moreover, the strength of Lead Plaintiffs’ Complaint supports modifying the stay. When
17   “a plaintiff’s case is clearly far from frivolous, the Court may determine that discovery is
18   necessary.” FirstEnergy, 2021 WL 2414763, at *5 (internal quotation marks omitted). See also
19   Royal Ahold, 220 F.R.D. at 251 (“the apparent strength of the plaintiffs’ case may factor in the
20   court’s determination of the necessity of discovery under the PSLRA”).            The Complaint,
21   supported by “quotations [and] citations from documentary evidence,” fully establishes the
22   elements of a securities fraud action. FirstEnergy, 2021 WL 2414763, at *5. The Complaint
23   already “makes specific and detailed allegations,” which are now further corroborated by
24   extensive discovery cited herein.
25          Under the Supreme Court’s ruling in Tellabs, Inc. v. Makor Issues & Rts., Ltd., a “strong
26   inference of scienter” “need not be irrefutable, i.e., of the ‘smoking-gun’ genre.” 551 U.S. 308,
27   322-24 (2007). Further, as the Ninth Circuit has explained, scienter evidence need not be direct,
28   as “[s]cienter can be established by direct or circumstantial evidence.” Provenz v. Miller, 102

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 1   F.3d 1478, 1490 (9th Cir. 1996). The question ultimately is: “When the allegations are accepted
 2   as true and taken collectively, would a reasonable person deem the inference of scienter at least
 3   as strong as any opposing inference?” Tellabs, 551 U.S. at 324. Courts use “a holistic review of
 4   the allegations to determine whether they combine to create a strong inference of intentional
 5   conduct or deliberate recklessness.” In re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694, 702
 6   (9th Cir. 2012). “Recklessly turning a blind eye to impropriety is equally culpable conduct.” Id.
 7   at 708.
 8             Lead Plaintiffs’ Complaint already relies on numerous credible sources, including Meta’s
 9   own internal documents and communications, as well as Frances Haugen’s testimony, which
10   describe in detail Defendants’ knowledge of, and involvement with, the concealed facts. See e.g.,
11   Complaint ¶¶103-14, 125-39, 160-93, 210-28, 232-39, 248-52, 270-75, 292-96, 314, 540-56.
12   Moreover, several of the Executive Defendants—including Defendants Zuckerberg and
13   Mosseri—admitted their own knowledge and involvement with these key issues. See, e.g.,
14   Complaint ¶241 (Zuckerberg: “This is something that we study and care a lot about”); ¶251
15   (Mosseri: stating that research showed impact of Instagram on well-being was minimal: “It’s
16   facts stated the bi-directional, so small effects positive and small effects negative but it’s quite
17   small.”). See Reese v. Malone, 747 F.3d 557, 572 (9th Cir. 2014) (“inference that [defendant]
18   did not have access to . . . data is directly contradicted by the fact that she specifically addressed
19   it in her statement”). In short, this is far from the sort of frivolous claim that animated the
20   passage of the discovery stay.
21             Indeed, it is highly unusual (particularly because of the PSLRA discovery stay) for a
22   complaint in a securities class action to incorporate dozens of internal documents from a
23   corporate defendant. As courts have repeatedly acknowledged, the PSLRA does “not require a
24   plaintiff to plead evidence.” In re Plantronics, Inc. Sec. Litig., 2022 WL 17974627, at *5 (N.D.
25   Cal. Nov. 7, 2022). See also In re Cabletron Sys., Inc., 311 F.3d 11, 34 (1st Cir. 2002) (“the
26   rigorous standards for pleading securities fraud do not require a plaintiff to plead evidence.
27   Defendants’ argument that even more detail be required, before there is any discovery, here
28   amounts to requiring plaintiffs to plead evidence.”). But here, Lead Plaintiffs already have pled

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 1   extensive evidence, including in the form of Meta’s internal documents, to substantiate their
 2   valid claims. “Requiring more detail than those presently alleged would transform the PSLRA’s
 3   formidable pleading requirement into an impossible one. The PSLRA was designed to eliminate
 4   frivolous or sham actions, but not actions of substance.” Glazer Cap. Mgmt., L.P. v. Forescout
 5   Techs., Inc., 63 F.4th 747, 769 (9th Cir. 2023) (internal quotation marks omitted).
 6          Moreover, there is no burden imposed on Defendants by reproducing documents that they
 7   have already produced to the government or other civil litigants. See Turocy v. El Pollo Loco,
 8   2017 WL 2495172, at *2 (C.D. Cal. May 10, 2017) (no burden in defendants reproducing
 9   materials “which they have already reviewed and compiled”). In fact, Defendants have already
10   gone through the exercise of reproducing certain of these documents at least once; Meta provided
11   documents to the Personal Injury plaintiffs that it had previously produced to the state attorneys
12   general. See MDL Joint Discovery Letter at 4, No. 4:22-md-03047-YGR, ECF No. 386 (N.D.
13   Cal.) (Ex. 9) (Judge Gonzalez Rogers permitted discovery of, among other things, “certain
14   documents produced during investigations by state attorneys general”).
15          While the various attorney general complaints were initially filed with heavy redactions,
16   Meta has entered into stipulations or agreements with nearly each attorney general, permitting
17   them to file unredacted versions of their complaints.         Meta’s interest in maintaining the
18   confidentiality of the documents is thus diminished, further demonstrating that a partial lift of the
19   PSLRA discovery stay is warranted.
20   V.     CONCLUSION
21          For all these reasons, the Court should GRANT Lead Plaintiffs’ motion and partially
22   modify the PSLRA’s automatic discovery stay to allow Lead Plaintiffs to discover documents
23   and materials which Meta has provided to (i) the state attorney general offices that filed suit
24   against Meta in October and November 2023, and (ii) the civil plaintiffs in In re Social Media
25   Adolescent Addiction/Personal Injury Products Liability Litigation, No. 4-22-MD-3047 (MDL)
26   (N.D. Cal.) and Social Media Cases, No. 22. STCV No. 5255 (Cal. Sup. Ct.).
27

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